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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


      BLACK LIVES MATTER D.C., et al.,

                            Plaintiffs,

                     v.                                      Civil Action No. 20-1469 (DLF)

     DONALD J. TRUMP, President of the
     United States of America, et al.,

                            Defendants.


                UNITED STATES’ MOTION FOR AN EXTENSION OF TIME
             TO RESPOND TO PLAINTIFFS’ SECOND AMENDED COMPLAINT

          By and through undersigned counsel, the Federal Defendants sued in their official

capacities (hereafter, the “United States”)1 respectfully move this Court for an extension of time,

i.e., until September 17, 2020, to file the United States’ response to Plaintiffs’ second amended

class action complaint in this action, see ECF No. 20-2. The United States has conferred with

counsel for Plaintiffs, and Plaintiffs do not oppose the extension of time but intend to file a

response in connection with Plaintiffs’ forthcoming motion for early discovery.2 As discussed

below, good cause exists for granting this motion.

          In addition to naming State and individual-capacity Federal Defendants, Plaintiffs bring

    the instant class action against the President of the United States, Attorney General, Secretary of


1
       Claims nominally pled against federal officials in their official capacities are actually
claims against the United States, see Kentucky v. Graham, 473 U.S. 159, 165-66 (1985).
2
       The Parties had conferred and reached an agreement in principle regarding a briefing
schedule for the United States’ dispositive motion. That schedule set Defendants’ dispositive
motion due by September 17, 2020; Plaintiffs’ opposition due by October 27, 2020; and
Defendants’ reply due by November 25, 2020. The United States respectfully requests that the
Court enter this briefing schedule, notwithstanding Plaintiffs’ forthcoming discovery motion
(which the United States intends to oppose).
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    Defense, Acting Chief of the U.S. Park Police, Director of the U.S. Secret Service,

    Commanding General of the D.C. National Guard, and Director of the Federal Bureau of

    Prisons, each in their official capacities. Plaintiffs allege violations of their First and Fourth

    Amendment rights based on the “use of violence against peaceful demonstrators” who were

    demonstrating in Lafayette Park on June 1, 2020. 2d Am. Compl. ¶¶ 1-3.

              The United States’ response to the instant complaint is currently due by August 10,

    2019.3 The United States anticipates that it will file a dispositive motion for some or all of

    Plaintiffs’ claims in this action. The United States requires a reasonable amount of additional

    time to prepare its response to facilitate the coordination of information regarding the events on

    and about June 1 in Lafayette Park among high-level officials of the Department of Justice and

    other federal agencies. Due the number of federal agencies involves in these events (including

    the Department of Defense), preparation of the United States’ response requires a substantial

    coordination effort from government counsel, especially during an ongoing COVID-19

    pandemic where most of the relevant government employees are currently in full telework

    status.

              In addition, undersigned counsel also requires the requested extension to time to

    accommodate his substantial docket of active cases. Since his assignment to this and other

    related matters pending before this Court, undersigned has been responsible for numerous other

    filings, including an appellate brief, several dispositive motions, discovery matters, and several

    temporary restraining order (“TRO”) hearings. Also, due the closure of dependent care



3
        The United States notes that the Attorney General, who has been named as a defendant in
his individual capacity, was served on or about August 3, 2020. Accordingly, the Attorney
General’s individual response to the complaint will be due 60 days from service. Fed. R. Civ. P.
4. Undersigned counsel for the United States does not represent the Attorney General in his
individual capacity.


                                                      2
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facilities due to the ongoing COVID-19 pandemic, undersigned counsel must balance ongoing

work commitments in this and many other litigation matters with his dependent care

responsibilities.

      In light of the above, the United States believes that additional time is necessary to permit

undersigned counsel to prepare the United States’ response to Plaintiffs’ second amended

complaint and have the response reviewed by each federal agency subject to this suit, including

by officials in the Department of Justice. Accordingly, the United States respectfully requests

that the Court extend the deadline for its response to the complaint until September 17, 2020.

Further, the United States requests that the Court set a briefing schedule for the United States’

dispositive motion that sets Plaintiffs’ opposition due by October 27, 2020, and the United

States’ reply due by November 25, 2020.

        A proposed order is attached.


Dated August 4, 2020                 Respectfully submitted,

                                     MICHAEL R. SHERWIN
                                     Acting United States Attorney

                                     DANIEL F. VAN HORN, D.C. Bar No. 924092
                                     Chief, Civil Division

                                     /s/ Christopher C. Hair
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                  v.                                      Civil Action No. 20-1469 (DLF)

  DONALD J. TRUMP, President of the
  United States of America, et al.,

                         Defendants.


                                       [PROPOSED] ORDER

       In light of the United States’ motion for an extension of time, Plaintiffs’ response thereto,

and the entire record herein, it is hereby ORDERED that the United States shall file its response

to Plaintiffs’ second amended complaint by September 17, 2020. If the United States files a

dispositive motion on that date, Plaintiffs’ opposition shall be due by October 27, 2020; and the

United States’ reply shall be due by November 25, 2020.

SO ORDERED.



_________________________                            ____________________________
Date                                                 Dabney L. Friedrich
                                                     United States District Judge
